
9 N.Y.2d 886 (1961)
In the Matter of Harvey H. Gordon, Appellant,
v.
Joseph P. Plonski et al., Constituting the Zoning Board of Appeals of the Town of Huntington, Respondents.
Court of Appeals of the State of New York.
Argued March 30, 1961.
Decided April 27, 1961.
Richard C. Cahn, Irving Cahn and Stanley F. Gordon for appellant.
Leon D. Lazer, Town Attorney (Frank J. Mack of counsel), for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order reversed, without costs, and proceeding remitted to Special Term with directions to dismiss the petition upon the ground that the amended ordinance has rendered the issues herein moot. No opinion.
